                  EXHIBIT I




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   VIA CERTIFIED MAIL
                                                                                         Nueva Vida Media LLC
   VIA EMAIL (dwilkerson@vwlawfirm.com)
                                                                                            c/o Marc Angelo Garcia
                                                                                                 413 Mont Vale Rd
                                                                                                 Lyman, SC 29365
 The Van Winkle Law Firm
   c/o C&J Software Solutions Inc.
   422 South Main St.
   Hendersonville, NC 28792



       Re: ALLEGED Infringement of “PowerChurch Software” Trademark, Reg. No. 5862646
                          and “PowerChurch Plus!”, Reg No. 1412159

C&J Software Inc and Representative,

On Friday August 4, 2023 we received a certified letter demanding a cease and desist on your part for the alleged
infringement of the trademark of “PowerChurch Software” and “PowerChurch Plus!” Until receipt of this letter
we were not aware of any trademark registered or any company providing the services we provide to non-profits
namely churches. We were until now unaware of your company.

On August 24, 2023 we received an email rebutting our statements in our response sent and confirmed receipt by
both the client and your law firm.

The fact stated that it would be 4th Circuit doesn't change anything as the 4th Circuit is not going to contravene
the 9th Circuit on the exact same issue. Your client would have to prove loss of income and damages based on
confusion of the trademark of your product to our service. In other words for clarity, your client will have to
prove that software sales were affected due to us offering our service which we believe the 4th Circuit or the 9th
Circuit would not find any association.

As well the thought of “Power Church” and “Power Church Plus” marks being registered under the same owner
being a validity of the mark is erroneous. Again, the fact that the USPTO approved the application for both on
separate applications and times indicates solidifies the fact that the USPTO that the marks are different enough, or
passed the test of not being “similar”.

The ability to register a trademark does not take into account who the owner is. Please cite the rule where this is
depicted in the USPTO site or federal law. Ownership of the trademark does not go into determining the
registration of the trademark. Furthermore the goods and services rule of trademark gives differentiation.

At this point your client’s continual harassment is going to subject them to a restraining order, and we will seek a
declaratory relief in a federal court to determine rights and liability, and we will recover all of our court costs and
attorneys fees should your client continue to pursue this.

We furthermore rescind our amicable offer to place anything on our website or materials declaring that we are
not associated. We renew our original statement, we will not cease and desist to use “iPowered Church”
as a service offering name.




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Lastly, a search post your initial letter resulted in 0 matches with the USPTO website (https://tmsearch.uspto.gov/)
based on your recommendation. We have enclosed the results of the search for “iPowered Church”.

Our trademark attorney since Aug. 4th has been notified, and is aware of our communications. If litigation continues
to be the desire of your client, please advise and I will get you in contact with my attorney once a summons is
served and we will file our restraining order. Until then we will not receive any more correspondence concerning
this matter. Again any further correspondence concerning this will result in a restraining order and pursuit of
litigation on our behalf.

Thank you




Nueva Vida Media LLC
Dr. Marc Angelo Garcia
President Nueva Vida Media LLC
8/8/2023




Copies:
- NVMedia Attorney
- C&J Software
- Winkle Law Form




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